                 Exhibit 3




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                    UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                        Case No. 3:20-cv-00019-FDW


 WILLIAM F. MACKEY,
                                  Plaintiff,
 v.                                               Mackey’s Response to Defendant’s
                                                       First Interrogatories

 WELLS FARGO BANK, N.A.,
                                  Defendant.



       Plaintiff WILLIAM MACKEY, through his attorneys and pursuant to Federal Rule of

Civil Procedure 33, provides these sworn answers to Defendant WELLS FARGO’S

interrogatories to the offices of Seyfarth Shaw LLP, 121 W. Trade Street, Suite 2020, Charlotte,

North Carolina 28202.

                          RESPONSES TO INTERROGATORIES

INTERROGATORY NO. 1:

       State the full name, current address, and telephone number of all individuals who
provided information or otherwise assisted or contributed to the preparation of these
interrogatory answers, and specify to which answer(s) each individual provided
information, assisted, or contributed.

       Response: ​The undersigned counsel assisted in preparing this response in its entirety.

INTERROGATORY NO. 2:

      Identify all persons, including, but not limited to, present and past employees of
Defendant, with whom you have had any communications (verbal, written, electronic, or
otherwise) regarding any of the allegations and claims in your Complaint. As to each such



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person, please describe in detail the following:

           (a)      his/her full name, current address, and telephone number;
           (b)      the subject matter(s) of each communication;
           (c)      the manner (verbal, written, electronic, or otherwise) of each
                    communication;
           (d)      the date, time, and place of each communication; and
           (e)      any documents relating to the communication.

       Response: ​Other than the individuals referred to in Mr. Mackey’s Initial Disclosures, to

the best of Mr. Mackey’s knowledge, there are no other known individuals who have knowledge

regarding the events referred to in the Complaint. For your convenience, such individuals are as

follows:

   1. Shannon Claytor – Employee Relations Senior Consultant

           a. 1300 SW 5​th​ Ave
              Floor 00
              Portland, OR 97201-5667
              Work phone number: (541) 674-9627

           b. Mr. Mackey had email and phone conversations with Ms. Claytor concerning

                 discrimination against Mr. Mackey generally. Additionally, Ms. Claytor

                 conducted the review for the EEOC. Mr. Mackey does not remember the exact

                 day or time of the conversation. Mr. Mackey asserts that the conversation took

                 place on Wells Fargo premises roughly in late 2017 or early 2018.

   2. Brandi Dotson – Fiduciary Tax Director, Senior Vice President

           a. 2605 SW 91​st​ St
              Floor 01
              Gainesville, FL 32608-2709
              Cell phone number: (980) 279-9706




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      b. Mr. Mackey had several detailed email and verbal conversations with Ms. Dotson

           concerning discrimination against Mr. Mackey and his hiring and promotion

           experience at Wells Fargo. Mr. Mackey does not remember the exact day or time.

           Mr. Mackey asserts that the conversation took place on Wells Fargo premises

           roughly in the late 2018 or early 2019.

3. Sara Vander Lugt – Fiduciary Tax Manager

      a.   600 S 4​th​ St
           Floor 14
           Minneapolis, MN 55415-1526
           Cell phone number: (612) 723-7815

      b. Mr. Mackey had emails and in-person meetings conversation with Ms. Vander

           Lugt concerning discrimination against Mr. Mackey generally. Mr. Mackey does

           not remember the exact day or time. Mr. Mackey asserts that the conversation

           took place on Wells Fargo premises roughly in the late 2017 or early 2018.

4. Danny S. Nethken – Operations Manager (​Deceased)

      a. Mr. Mackey had several email and in-person conversations with Mr. Nethken

           concerning Mr. Mackey’s promotion opportunities (or lack thereof), the

           circumstances of his hiring, the fairness of his hiring terms, and discrimination

           against Mr. Mackey. Mr. Mackey does not remember the exact day or time. Mr.

           Mackey asserts that the conversation took place roughly in the summer of 2017.

5. Bob Blood – Operations Manager

      a. Mr. Blood is retired. Plaintiff did not, and after a reasonable inquiry, does not,

           have knowledge of Mr. Blood’s current contact information.




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           b. Mr. Mackey had email and in-person conversation with Mr. Blood concerning

                  discrimination against Mr. Mackey generally. Mr. Blood was replaced by Brandi

                  Dotson, Mr. Mackey does not remember the exact day or time of any conversion,

                  but asserts that the relevant conversations took place on Wells Fargo premises

                  roughly in 2017.

INTERROGATORY NO. 3:

       State whether you have obtained any statements (whether written or verbal),
reports, memoranda, affidavits, declarations, other documents, or recordings from any
person that in any way concern the facts of this action or the allegations and claims in your
Complaint. If you have obtained any such statements, reports, memoranda, affidavits,
declarations, other documents, or recordings, provide the following information concerning
each:

            (a)      the author(s) of each such statement, report, memorandum, affidavit,
                     declaration, other document, or recording;

            (b)      the person(s) to whom the statement, report, memorandum, affidavit,
                     declaration, other document, or recording was issued, distributed, or
                     otherwise provided;

            (c)      the date each such statement, report, memorandum, affidavit,
                     declaration, other document, or recording was prepared; and

            (d)      the present location of each such statement, report, memorandum,
                     affidavit, declaration, other document, or recording.

       Response: ​Mr. Mackey has not obtained any such statements, reports, memoranda,

affidavits, declarations, other documents, or recordings.




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INTERROGATORY NO. 4:

       Describe in detail every oral or written statement made by Defendant or any of
Defendant’s current or former directors, officers, employees, representatives, or agents
that you contend constitutes an admission or declaration against interest, or on which you
intend to rely as evidence or support for any of your claims.

      Response:

          1.    ​Conversation with Danny Nethken. Mr. Nethken explained to Mr. Mackey

               that because of Wells Fargo’s salary-based promotion policy, Mr. Mackey,

               although he had received the max raise of 2% every year since his hiring, was still

               not eligible to receive a promotion. Mr. Nethken specifically said that Mr.

               Mackey’s salary was not where it should have been and that Wells Fargo would

               need to give him several significant raises before Mr. Mackey would be eligible

               for a raise.

          2. Meeting with Danny Nethken, Bob Blood, and Sara Vander Lugt in 2017

               following a Wells Fargo CEO Town Hall Meeting. ​During this meeting, Mr.

               Blood explained to Mr. Mackey that Wells Fargo had taken advantage of Mr.

               Mackey at his hiring by placing him near the bottom of the salary range for an

               SES III. At this time, Mr. Blood said he usually brings people in at 75% or 90%

               of the salary range. Mr. Blood stated that Mr. Mackey ought to have been placed

               at a higher salary rate at his hiring due to his qualifications and experience with

               Wells Fargo.    Finally,Mr. Nethken noted that Mr. Mackey could receive the

               maximum raise until he retires and still not make it to the high end of the salary

               range for an SES III because of the salary at which Wells Fargo hired him.




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INTERROGATORY NO. 5:

       Describe each fact that supports your allegation in Paragraph No. 16 of your
Complaint that “Wells Fargo typically starts its employees at the midpoint salary for a
position.”

       Response: ​Mr. Mackey personally viewed a            document created and provided by

Defendant which supports this allegation as an accurate reflection of Defendant’s hiring policies

and practices. The document designates a Target Total Compensation (TTC) for employees in a

certain role and stated that the TTC should be equal to the Base Market Reference Point (Base

MRP). The Base MRP is the midpoint of the salary range for a given position.

INTERROGATORY NO. 6:

       Identify each employee of Defendant whom you are aware, upon starting a new
position, received a starting salary at the midpoint for the position as alleged Paragraph
No. 16 of your Complaint.

       Response: ​On information and belief, by way of the deduction, Mr. Mackey presumes

the following employees received at least a midpoint starting salary:

           1. Kathie Little

           2. Anna Taylor

           3. Ben Hood

           4. John Irwin (SES IV)

           5. Joe Williams (SES V)

           6. Anthony Castrillo (SES IV) (came in after after Mr. Mackey, but was promoted

               before him)




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INTERROGATORY NO. 7:

       Describe each fact that supports your allegation in Paragraph No. 23 of your
Complaint that an employee of Defendant “is not considered for an internal promotion
unless his current salary is within a designated salary range.”

       Response: ​Mr. Nethken explained this to Mr. Mackey after Mr. Mackey asked why he

was given the responsibilities of an SES IV but was not officially promoted. Mr. Nethken

explained that he could not promote Mr. Mackey to SES IV without giving Mr. Mackey a series

of raises in order to raise him to the necessary salary range to receive a raise pursuant to Wells

Fargo’s promotion policies.

INTERROGATORY NO. 8:

        Identify each individual in Paragraph No. 24 of your Complaint who were
Plaintiff’s “peers” and “became eligible for and received promotions” while Plaintiff
remained a Securities Operations Service Specialist 3.

       Response:

           1. Anna Taylor (SES III) (came in after Mr. Mackey but was promoted before)

           2. Kathie Little (SES III)

           3.   Ben Hood (SES IV)

           4. John Irwin (SES IV)

           5. Joe Williams (SES V)

           6. Anthony Castrillo (SES IV) (came in after after Mr. Mackey, but was promoted

                before)




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INTERROGATORY NO. 9:

       Identify the managers described in Paragraph Nos. 29-31 of your Complaint. For
each manager, identify the statements he/she made in the meeting described in Paragraph
Nos. 29-31.

       Response:

          1. Danny Nethken.         Mr. Nethken noted that Mr. Mackey could receive the

              maximum raise until he retired and still not make it to the high end of the salary

              range for an SES III because of the salary point at which Wells Fargo hired him.

          2. Bob Blood​. Mr. Blood asserted that Wells Fargo had taken advantage of Mr.

              Mackey at his hiring by placing him near the bottom of the salary range for an

              SES III.   Mr. Blood also asserted that he usually brought people in at 75% or

              90% of the salary range. Additionally, he stated that Mr. Mackey ought to have

              been placed at a higher salary rate at his hiring due to his qualifications and

              experience with Wells Fargo.

          3. Sara Vander Lugt. ​No statement recalled; specified; or individually relied upon

              to support the allegations. Mr. Mackey recalls that she was present at the meeting

              but does not recall her individual contributions.

INTERROGATORY NO. 10:

      Identify the “incentive compensation plan” that you refer to in Paragraph No. 42 of
your Complaint.

       Response: ​The “incentive compensation plan” is an operation from his previous

department within Wells Fargo. It determined that an employee would recieve certain amount




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of bonus compensation based partially on if Wells Fargo reached a goal and partially on the

employee’s performance.

INTERROGATORY NO. 11

       Identify each grievance, arbitration, charge or complaint of discrimination, lawsuit,
or other administrative or legal proceeding in which you have ever been involved as a
party, and for each such proceeding, describe in detail the following:

           (a)    the nature of the proceeding;
           (b)    the names of all parties in the proceeding;
           (c)    the agency, court, or other forum in which the proceeding was filed and
                  conducted;
           (d)    the dates when the proceeding began and concluded;
           (e)    the resolution or outcome of the proceeding; and
            (f)   the name, business address, and telephone number of any lawyer(s) who
                  represented you in the proceeding.

       Response: ​Other than the present matter and requisite EEOC proceedings,​ ​Mr. Mackey

has never been involved as a party for any such proceeding.

INTERROGATORY NO. 12

       Identify all physicians, psychiatrists, psychologists, social workers, counselors, or
any other health care providers whom you have seen regarding any type of emotional,
mental, psychological, or psychiatric illness, disorder, injury, state, condition, impairment,
or disability since January 1, 2010, and for each such individual, describe in detail the
following:

           (a)    his/her full name, current business address, and telephone number;
           (b)    the reason for visiting such individual;
           (c)    the diagnosis, prognosis, and course of treatment provided by the
                  individual;
           (d)    the date(s) on which you visited him/her;
           (e)    the duration of the course of treatment rendered to you by the individual;
                  and
            (f)   any medications prescribed by him/her.

       Response: Mr. Mackey has requested his full medical records back to January 1, 2010,

but has not received them. Mr. Mackey will complete this response upon receipt of such records.




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Pursuant to his best recollection and online and in-hand records, Mr. Mackey provides the

following information:

          1. Anna Mistretta
             200 S College St,
             Charlotte, NC 28202
             (704) 302-8800
             Reason for Visit: Type 2 Diabetes
             3/26/2020

          2. Yih Cherng Franklin Tsai
             2001 Vail Ave,
             Charlotte, NC, 28207
             (704) 304-5000
             Reason for Visit: Type 2 Diabetes and Hypertension
             3/2018

          3. Gagneet Chauhan
             4525 Cameron Valley Pkwy 4th Floor,
             Charlotte, NC 28211
             (704) 468-8876
             Reason for Visit: Type 2 Diabetes
             Diagnosis: Type 2 Diabetes symptoms and Low Testosterone
             3/26/2020

          4. Hiren Patel
             1525 W.T. Harris Blvd.
             Charlotte, NC 28288,
              ​704-590-6770
             Reason for Visit: Type 2 Diabetes
             Diagnosis: Type 2 Diabetes symptoms; Barrett’s esophagus,
             Hypertriglyceridemia, Male Hypogonadism, and Obesity
             7/24/2018

          5. Tony Walden
             1085 NE Gateway Ct NE Ste 330,
             Concord, NC 28025
             (704) 403-1311
             Reason for Visit:Type 2 Diabetes and Hypogonadism
             1/17/2019




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INTERROGATORY NO. 13

         Identify all physicians or other health care providers whom you have seen for any
illness, disease, injury, condition, impairment, or disability of any nature whatsoever,
whether physical, mental, emotional, or otherwise, that you claim to have suffered because
of any action or omission by Defendant or any of its employees, and for each such provider,
describe in detail the following:

              (a)     his/her full name, current business address, and telephone number;
              (b)     the reason for visiting such individual;
              (c)     the diagnosis, prognosis, and course of treatment provided by the
                      individual;
              (d)     the date(s) on which you visited him/her;
              (e)     the duration of the course of treatment rendered to you by the
                      individual; and
              (f)     any medication(s) prescribed by him/her.

       Response: ​Mr. Mackey has requested his full medical records back to January 1, 2010,

but has not received them. Mr. Mackey will complete this response upon receipt of such records.

Pursuant to his best recollection and online and in-hand records, Mr. Mackey provides the

following information:

           1. Anna Mistretta
              200 S College St,
              Charlotte, NC 28202
              (704) 302-8800
              Reason for Visit: Type 2 Diabetes
              3/26/2020

           2. Yih Cherng Franklin Tsai
              2001 Vail Ave,
              Charlotte, NC, 28207
              (704) 304-5000
              Reason for Visit: Type 2 Diabetes and Hypertension
              3/2018

           3. Gagneet Chauhan
              4525 Cameron Valley Pkwy 4th Floor,
              Charlotte, NC 28211
              (704) 468-8876
              Reason for Visit: Type 2 Diabetes



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              Diagnosis: Type 2 Diabetes symptoms and Low Testosterone
              3/26/2020

          4. Hiren Patel
             1525 W.T. Harris Blvd.
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             Reason for Visit: Type 2 Diabetes
             Diagnosis: Type 2 Diabetes symptoms; Barrett’s esophagus,
             Hypertriglyceridemia, Male Hypogonadism, and Obesity
             7/24/2018

          5. Tony Walden
             1085 NE Gateway Ct NE Ste 330,
             Concord, NC 28025
             (704) 403-1311
             Reason for Visit:Type 2 Diabetes and Hypogonadism
             1/17/2019

INTERROGATORY NO. 14

       Identify all personal e-mail accounts (including the internet service provider) used
by you or any other person acting on your behalf to engage in communications about your
employment with Defendant or the allegations and claims in your Complaint.

       Response: Mr. Mackey objects to this interrogatory to the extent that Mr. Mackey has

used his e-mail accounts to communicate with counsel.          Without waiving the foregoing

objection, Mr. Mackey responds as follows: Mr. Mackey has used the following e-mail accounts

to engage in communications about his employment with Defendant:

          1. mackeyw44@gmail.com

          2. william.mackey@wellsfargo.com

       Mr. Mackey operates these accounts independently of a specific internet service provider.

INTERROGATORY NO. 15

       Identify all social media accounts utilized by you to engage in communications
about your employment with Defendant or the allegations and claims in your Complaint,



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including, but not limited to, Facebook, Twitter, LinkedIn, Instagram, YouTube,
SnapChat, Google+, MySpace, or any other social networking or online account.

       Response: ​Mr. Mackey has not utilized any social media account to engage in

communications about his employment with Defendant or the allegations and claims in his

Complaint.



                                                  Respectfully submitted,


                                                  WILLIAM F. MACKEY




                                                  By:
                                                  _________________________
                                                  J​ORDAN​ B​URKE
                                                  NC State Bar No. 54778
                                                  Elizabeth K. Vennum
                                                  NC State Bar No. 49747
                                                  Vennum PLLC
                                                  8510 McAlpine Park Dr.
                                                  Suite 210
                                                  Charlotte, NC 28277
                                                  Counsel for Plaintiff




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                                        CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served upon

counsel for Wells Fargo Bank, N.A. by e-mail and by depositing a copy of the same in an

official depository of the United States Postal Service in a certified mail postage-paid envelope

addressed to:

                            F​REDERICK​ T. S​MITH
                            N.C. Bar No. 45229
                            Telephone: (704) 925-6023
                            Facsimile: (704) 946-6083
                            E-mail: fsmith@seyfarth.com
                            E​THAN​ G​OEMANN
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                            S​EYFARTH​ S​HAW​ LLP
                            121 West Trade Street, Suite 2020
                            Charlotte, NC 28202
                            Counsel for Defendant



T​HIS​ 11​TH​ ​DAY​ ​OF​ M​AY​, 2020.




                                                     J​ORDAN​ B​URKE
                                                     V​ENNUM​ PLLC




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